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1    James K. Vucinovich
     C. N. Coby Cohen
2    Rossi Vucinovich, P.C.
3    1000 Second Ave., Suite 1780
     Seattle, WA 98104
4    (425) 646-8003
     Fax (425) 646-8004
5    jvucinovich@rvflegal.com
     ccohen@rvflegal.com
6

7                   UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WASHINGTON AT RICHLAND
8
      JERRY L. HARDEN,                             Case No. 4:21-cv-5136
9
                          Plaintiff,
10                                                 COMPLAINT FOR DAMAGES
11    v.
                                                   DEMAND FOR JURY TRIAL
12    BNSF RAILWAY COMPANY, a
      Delaware Corporation,
13

14                        Defendant.

15
           COMES NOW, Plaintiff Jerry L. Harden (“Plaintiff” or “Mr. Harden”), by
16
     and through his undersigned counsel, and for his claims against Defendant BNSF
17

18   Railway Company, a Delaware Corporation, formerly known as Burlington

19   Northern Railroad until a merger in 1996 with Atchison, Topeka, and Santa Fe
20
     Railroad on December 31, 1996 (collectively, “Defendant” or “BNSF”) hereby
21
     states and alleges as follows:
22

23

24    COMPLAINT FOR DAMAGES - 1                                      ROSSI VUCINOVICH               P.C.
                                                                       1000 Second Avenue, Suite 1780
                                                                          Seattle, Washington 98104

25                                                                   (425) 646-8003/ Fax (425) 646-8004
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1                              PARTES & JURISDICTION
2          1.     At all material times, Mr. Harden was, and remains, a resident of the
3
     State of Washington, and he lives within the Eastern District of Washington.
4
           2.     At all material times, Defendant was and is a corporation duly
5
     organized and existing under the laws of the state of Delaware, and was operating
6

7    a system of railroad tracks in the State of Washington and other states, and that said

8    system included and includes lines of track in the Eastern District of Washington,
9    where this action is filed and where at least a significant portion of the actions at
10
     issue herein are alleged to have taken place.
11
           3.     At all times material to this action, Defendant was an interstate carrier
12
     by rail and was engaged in interstate transportation and commerce. Additionally,
13

14   Mr. Harden was employed by Defendant as a switchman and brakeman, and as

15   such was working and engaged in interstate transportation and commerce at the
16   times pertinent to this action, and at such times was working in the furtherance of
17
     Defendant’s interstate commerce, in work which directly, closely, and substantially
18
     affected the general interstate commerce carried on by said Defendant as a railroad
19
     common carrier of freight for hire.
20

21         4.     The jurisdiction of this Court is based upon Title 45 U.S.C. § 51 et

22   seq., commonly known as the Federal Employers' Liability Act (“FELA”), and this
23   action is timely commenced in a proper venue within the meaning of 45 U.S.C.
24    COMPLAINT FOR DAMAGES - 2                                    ROSSI VUCINOVICH               P.C.
                                                                     1000 Second Avenue, Suite 1780
                                                                        Seattle, Washington 98104

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1    § 56, as Defendant operates rail lines within this judicial district and actions that
2    led to this lawsuit are alleged to have occurred within this judicial district.
3
                                            VENUE
4
           5.     The Eastern District of Washington is the appropriate venue for this
5
     action pursuant to 29 U.S.C. § 1391(b)(2), as a substantial part of the events giving
6

7    rise to this claim occurred in the Eastern District of Washington.

8                                STATEMENT OF FACTS
9          6.     Plaintiff was employed with BNSF as a switchman and brakeman at
10
     all relevant times to this lawsuit, namely from 1973 through 2001.
11
           7.     This suit pertains injuries suffered by Mr. Harden as a result of the
12
     negligence of Defendant throughout his tenure with Defendant, but that Mr. Harden
13

14   had no knowledge or reason to have knowledge as to his injuries and their

15   relationship to his work until within the last three years preceding the filing of this
16   Complaint.
17
           8.     During his railroad employment with Defendant, Mr. Harden was
18
     exposed to asbestos (including in dust), diesel fumes, diesel exhaust, and other
19
     toxic particulates and fumes, which included second-hand tobacco smoke
20

21   exposure.

22         9.     Defendant knew, or in the exercise of proper diligence should have
23   known, of the presence or existence of asbestos, diesel fumes, diesel exhaust, and
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                                                                      1000 Second Avenue, Suite 1780
                                                                         Seattle, Washington 98104

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1    other toxic particulates and fumes, including second-hand tobacco smoke exposure,
2    within Mr. Harden’s working environment and of his ongoing and significant
3
     exposures to same during the course of his employment with BNSF.
4
           10.    This included, but was not limited to, exposures in cabs, cabooses,
5
     yards, tunnels, and along tracks.
6

7          11.    Defendant also knew, or in the exercise of proper diligence should

8    have known, of the dangerous effects and health impacts of asbestos, diesel
9    exhaust, diesel fumes, and other toxic particulates and fumes prior to Mr. Harden’s
10
     date of hire with BNSF.
11
           12.    In particular, BNSF knew, along with other railroads, since at least
12
     1958, that there was scientific proof that exposure to asbestos could cause
13

14   development of cancer.

15         13.    BNSF also knew prior to Mr. Harden’s hire, or in the exercise of
16   reasonable care should have known by that time, that exposure to diesel fumes and
17
     diesel exhaust could cause development of cancer.
18
           14.    BNSF further knew prior to Mr. Harden’s hire, or in the exercise of
19
     reasonable care should have known by that time, that exposure to other toxic
20

21   particulates and fumes that it was aware were present in the working environment

22   to which Mr. Harden was exposed in his craft could cause the development of
23   harmful health impacts, including cancer.
24    COMPLAINT FOR DAMAGES - 4                                     ROSSI VUCINOVICH               P.C.
                                                                      1000 Second Avenue, Suite 1780
                                                                         Seattle, Washington 98104

25                                                                  (425) 646-8003/ Fax (425) 646-8004
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1            15.   Despite its knowledge, Defendant did not warn Mr. Harden about the
2    potential dangers of exposure to asbestos.
3
             16.   Despite its knowledge, Defendant did not warn Mr. Harden about the
4
     potential dangers of exposure to diesel fumes or diesel exhaust.
5
             17.   Despite its knowledge, Defendant did not warn Mr. Harden about the
6

7    potential dangers of exposure to other toxic particulates or fumes, which included

8    second-hand tobacco smoke exposure.
9            18.   Defendant also did not adequately monitor the health of Mr. Harden
10
     or indicate to him that such monitoring was critical to his ongoing health given the
11
     exposures to which he was subjected in his employment with BNSF.
12
             19.   Similarly, Defendant failed to perform air quality monitoring on their
13

14   properties and in the locomotives or cabooses in which Mr. Harden was assigned

15   to work on BNSF’s behalf to identify the particulates and toxins to which he was
16   exposed in such work.
17
             20.   Defendant knew that the failure to monitor such exposures and the
18
     ongoing health of Mr. Harden placed him at risk of development of health issues
19
     arising from the very exposures BNSF elected not to monitor.
20

21           21.   Mr. Harden’s other work would not have given rise to the exposures

22   identified herein known by BNSF to have been generated in his employment with
23   them.
24    COMPLAINT FOR DAMAGES - 5                                   ROSSI VUCINOVICH               P.C.
                                                                    1000 Second Avenue, Suite 1780
                                                                       Seattle, Washington 98104

25                                                                (425) 646-8003/ Fax (425) 646-8004
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1          22.      Mr. Harden was not a smoker.
2          23.      Mr. Harden has now been diagnosed with lung cancer, arising as a
3
     result of the exposures to which he was subjected during his career with BNSF.
4
                                 FIRST CAUSE OF ACTION
5                                   FELA NEGLIGENCE
6          24.      Plaintiff hereby realleges and incorporates by reference the allegations
7
     contained in paragraphs 1 through 23 of this Complaint as though fully set forth
8
     herein.
9
           25.      Mr. Harden’s injuries from the exposures described occurring during
10

11   his employment with BNSF came as a direct result, in whole or in part, of the

12   negligence of Defendant BNSF, and its agents, employees and officers, in violation
13   of the FELA, 45 U.S.C. § 51 et seq.
14
           26.      Among other acts of negligence to be proven at trial, Defendant BNSF
15
     was negligent by its:
16
                 a. Failure to provide Plaintiff with a reasonably safe place in which to
17

18                  work as required by law;

19               b. Failure to properly maintain the air quality in Plaintiff’s work area;
20               c. Failure to warn Plaintiff of the dangers posed by exposures to
21
                    asbestos, asbestos dust, diesel fumes, diesel exhaust, and other toxic
22
                    particulates and fumes;
23

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                                                                       1000 Second Avenue, Suite 1780
                                                                          Seattle, Washington 98104

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1           d. Failure to adequately train Plaintiff concerning the dangers and risks
2              of physical harm posed by exposures to asbestos, asbestos dust, diesel
3
               fumes, diesel exhaust, and other toxic particulates and fumes;
4
            e. Failure to take measures to adequately protect Plaintiff against the
5
               dangers and risks posed by exposures to asbestos, asbestos dust, diesel
6

7              fumes, diesel exhaust, and other toxic particulates and fumes,

8              including second-hand tobacco smoke;
9           f. Failure to monitor Plaintiff for adverse effects of exposures while
10
               working for BNSF;
11
            g. Failure to advise Plaintiff to regularly obtain medical monitoring for
12
               adverse effects of exposures from his time working for BNSF;
13

14          h. Failure to ensure a safe method for interactions with the above-listed

15             particulates or exposures;
16          i. Failure to provide access to Plaintiff of material safety data sheets for
17
               materials containing toxic substances that could lead to exposures as
18
               identified herein;
19
            j. Violation of applicable federal, state, and/or local rules or regulations
20

21             concerning exposures to asbestos, asbestos dust, diesel fumes, diesel

22             exhaust, and other toxic particulates and fumes;
23          k. Failure to adopt and enforce rules sufficient to counter any dangers or
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                                                                  1000 Second Avenue, Suite 1780
                                                                     Seattle, Washington 98104

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1                   risks posed by exposures as identified herein;
2                l. Failure to properly inspect its equipment and materials for dangers and
3
                    risks posed by release of particulates including the exposures
4
                    addressed herein; and
5
                 m. other acts of negligence to be proven at trial in this matter.
6

7          27.      As a direct result, in whole or in part, of the negligence of Defendant

8    BNSF in violation of the FELA, Plaintiff suffered severe, potentially permanent
9    and disabling injuries, including, but not limited to, lung cancer and associated
10
     health impacts. As a result, Plaintiff has suffered in the past and will continue in
11
     the future to suffer pain and anguish and loss of enjoyment of life.
12
           28.      As a direct result, in whole or in part, of Defendant’s negligence in
13

14   violation of the FELA, Mr. Harden has also sustained a permanent diminution of

15   his earning capacity in amounts to be proven by the evidence at the trial of this
16   matter. This is intended to include being less able to do work at a restaurant owned
17
     in part by him, requiring the hiring of additional help to perform tasks he otherwise
18
     performed prior to his injuries sustained as a result of BNSF’s negligence, directly
19
     and indirectly impacting his earning capacity.
20

21         29.      Mr. Harden also suffers from a reasonable fear of impending death or

22   decreased life expectancy and fears of the impacts of cancer as a result of the
23   impacts of the injuries he has sustained from BNSF’s negligence.
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                                                                       1000 Second Avenue, Suite 1780
                                                                          Seattle, Washington 98104

25                                                                   (425) 646-8003/ Fax (425) 646-8004
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1          30.    In an effort to treat, heal, and relieve his injuries, Plaintiff has spent
2    and will continue to spend monies for medical-related care associated with this
3
     injuries, in an amount to be established at trial.
4
                                  REQUEST FOR RELIEF
5
           WHEREFORE, Plaintiff respectfully requests that judgment be entered
6

7    against the above-named Defendant for special and general damages in an amount

8    established by the evidence, together with all costs and disbursements, and other relief
9    the court may deem appropriate.
10
                                       JURY DEMAND
11
           Plaintiff hereby demands a jury of twelve of his peers.
12

13         Dated: October 11, 2021

14                                            ROSSI VUCINOVICH PC

15                                             s/ C. N. Coby Cohen
                                              James K. Vucinovich, WSBA # 29199
16                                            C. N. Coby Cohen, WSBA # 30034
17                                            1000 Second Avenue, Suite 1780
                                              Seattle, WA 98104
18                                            Ph: (425) 646-8003
                                              Fx: (425) 646-8004
19                                            jvucinovich@rvflegal.com
                                              ccohen@rvflegal.com
20
                                              Attorneys for Plaintiff
21

22

23

24    COMPLAINT FOR DAMAGES - 9                                     ROSSI VUCINOVICH               P.C.
                                                                      1000 Second Avenue, Suite 1780
                                                                         Seattle, Washington 98104

25                                                                  (425) 646-8003/ Fax (425) 646-8004
